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16
                              UNITED STATES DISTRICT COURT
17                  CENTRAL DISTRICT OF CALIFORNIA-SOUTHERN DIVISION
18
19     SA RECYCLING LLC,                )                   Case No. SACV 12-0416-AG(JPRx)
             Plaintiff,                 )
20           v.                         )                   STIPULATED DISMISSAL WITH
21     KRAMAR’S IRON & METAL, INC. )                        PREJUDICE AND PROPOSED ORDER RE
             Defendant                  )                   SAME
22
       ________________________________ )
23                                      )
24     KRAMAR’S IRON & METAL, INC. )
             Counterclaimant,           )
25           v.                         )
26     SA RECYCLING LLC,                )
             Counterdefendant.          )
27
       ________________________________ )
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       STIPULATED DISMISSAL WITH PREJUDICE AND PROPOSED ORDER RE SAME
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 1            Plaintiff and counterclaim defendant SA Recycling LLC and defendant and
 2     counterclaimant Kramar’s Iron & Metal, Inc. entered into a settlement agreement.
 3     Accordingly, they stipulate and request that the Court dismiss this action with prejudice.
 4     Each side shall bear its costs and attorneys' fees. A proposed Order in this regard is
 5     attached as Exhibit 1.
 6          LEWIS BRISBOIS BISGAARD &                                KLEINBERG & LERNER, LLP
 7          SMITH LLP                                                MARMON LAW OFFICES
 8          September 10, 2014                                       September 10, 2014
 9
       By: /S/Jonathan S. Pink                                 By: /S/Marvin H. Kleinberg
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                                                                    Attorneys for Defendant and
23                                                                  Counterclaimant Kramar's Iron &
24                                                                  Metal, Inc.
                                                               I, Bradford E. Mattes, attest pursuant to
25                                                             L.R. 5-4.3.4(a)(2)(i) that the above
26                                                             signatories on whose behalf this filing is
                                                               submitted concur in the filing’s content and
27
                                                               have authorized the filing.
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       STIPULATED DISMISSAL WITH PREJUDICE AND PROPOSED ORDER RE SAME
